      Case: 1:22-cv-03765 Document #: 1 Filed: 07/20/22 Page 1 of 17 PageID #:1




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

GREAT AMERICAN INSURANCE                          )
COMPANY, as assignee of Illinois Community        )
College Risk Management Consortium,               )
                                                  )
                      Plaintiff,                  )
                                                  )    Case No.
       v.                                         )
                                                  )
STATE FARM FIRE AND CASUALTY                      )
COMPANY and ROBERT L. BREUDER,                    )
                                                  )
                      Defendants.                 )

       COMPLAINT FOR DECLARATORY JUDGMENT AND OTHER RELIEF

       Plaintiff, Great American Insurance Company (“Great American”), as assignee of Illinois

Community College Risk Management Consortium (“ICCRMC”), by and through its

undersigned counsel, for its Complaint for Declaratory Judgment and Other Relief against State

Farm Fire and Casualty Company (“State Farm”) and Robert L. Breuder (“Breuder”), alleges as

follows:

                                   NATURE OF THE ACTION

       1.     This is an action for declaratory relief, equitable contribution, contractual

subrogation, and/or equitable subrogation, brought pursuant to 28 U.S.C. §§ 2201 and 2202, for

the purpose of resolving an actual controversy between the parties regarding State Farm’s

wrongful failure and refusal—over a period of nearly seven years—to participate in the defense

of its insured, Kathy Hamilton (“Hamilton”), a litigant in an underlying civil lawsuit pending in

the U.S. District Court for the Northern District of Illinois, Eastern Division, styled Robert

Breuder v. Board of Trustees of Community College District No. 502, DuPage County, Illinois,

et al., Case No. 1:15-cv-09323 (the “Underlying Lawsuit”).
       Case: 1:22-cv-03765 Document #: 1 Filed: 07/20/22 Page 2 of 17 PageID #:2




        2.     Despite the fact that State Farm and ICCRMC each have a concurrent,

independent, and ongoing duty to defend (and ultimately indemnify) Hamilton with respect to

certain claims asserted in the Underlying Lawsuit, ICCRMC has defended Hamilton alone,

incurring over $3.7 million in loss adjustment expenses, without State Farm’s participation.

        3.     In light of State Farm’s failure to timely reserve its rights or to file a declaratory

judgment lawsuit seeking a determination of the obligations owed under a Personal Liability

Umbrella Policy that State Farm issued to Hamilton, State Farm is estopped from asserting any

defenses to coverage.

        4.     Great American, as assignee of ICCRMC, is entitled to reimbursement of an

equitable share of all attorneys’ fees and expenses incurred by ICCRMC, post-tender to State

Farm, in connection with the defense provided to Hamilton in the Underlying Lawsuit, plus

prejudgment interest on all sums awarded.

                             THE PARTIES AND CITIZENSHIP

        5.     Great American is a corporation organized and existing under the laws of the

State of Ohio, with its principal place of business in Cincinnati, Ohio. Great American is

authorized to transact the business of insurance and reinsurance within the State of Illinois.

        6.     Upon information and belief, State Farm is a corporation organized and existing

under the laws of the State of Illinois, with its principal place of business in Bloomington,

Illinois.

        7.     Upon information and belief, Breuder is a citizen of Illinois.          Breuder is a

necessary party to this action under applicable Illinois law, and is joined as a defendant to ensure

that he is bound by any judgment rendered herein.




                                                 2
      Case: 1:22-cv-03765 Document #: 1 Filed: 07/20/22 Page 3 of 17 PageID #:3




                                 JURISDICTION AND VENUE

       8.      This Court has jurisdiction over this action, pursuant to 28 U.S.C. § 1332(a),

because complete diversity exists between the parties and the amount in controversy exceeds the

sum or value of $75,000, exclusive of interest and costs.

       9.      Venue is proper in this judicial district, pursuant to 28 U.S.C. § 1391, because a

substantial part of the events or omissions giving rise to this claim occurred within this district

and the Underlying Lawsuit is pending in this District Court.

       10.     State Farm and Breuder have sufficient minimum contacts with this judicial

district to confer personal jurisdiction over them in this Court.

                                THE UNDERLYING LAWSUIT

       11.     The Underlying Lawsuit arises from Breuder’s unceremonious termination as

President of the College of DuPage on October 20, 2015.

       12.     On October 21, 2015, the day after his termination, Breuder filed the Underlying

Lawsuit against the Board of Trustees of Community College District No. 502, DuPage County,

Illinois (the “Board”), and individual Board members Deanne Mazzochi, Frank Napolitano,

Charles Bernstein, and Hamilton (together, the “Individual Defendants”). (A true and correct

copy of the Complaint filed in the Underlying Lawsuit is attached hereto as Exhibit 1.)

       13.     The Underlying Lawsuit was brought pursuant to 42 U.S.C. § 1983 for violation

of Breuder’s rights under the Due Process Clause of the U.S. Constitution as well as for various

state law violations.

       14.     Among other claims and causes of action asserted in the Underlying Lawsuit,

Breuder alleges that the Individual Defendants each made defamatory and stigmatizing remarks

about him at Board meetings, to media outlets, and to the general public.




                                                  3
      Case: 1:22-cv-03765 Document #: 1 Filed: 07/20/22 Page 4 of 17 PageID #:4




       15.       Importantly, Breuder alleges that the Individual Defendants acted to advance their

own personal and political interests and agendas and, thus, are liable not only in their official

capacities as Board members but also in their individual capacities regarding statements made

and acts committed that were unrelated to the fulfillment of their duties as Board members or to

the administration of the College of DuPage.

       16.       While the court dismissed those aspects of Breuder’s claims against the Individual

Defendants regarding defamatory statements made before the Board (based on immunity), it did

not dismiss Breuder’s claims against the Individual Defendants regarding defamatory statements

made to the general public through media outlets, which the court determined were plausible and

remain triable issues.

               THE ICCRMC POLICY AND RELATED CLAIMS HANDLING

       17.       ICCRMC issued a Coverage Agreement (policy number ICCRMC2015-502) to

the College of DuPage for the policy period July 1, 2015 to July 1, 2016 (the “ICCRMC

Policy”). (A true and correct copy of the ICCRMC Policy is attached hereto as Exhibit 2.)

       18.       Among other risks, the ICCRMC Policy insures Educators’ Legal Liability, which

provides coverage to MEMBERS1 for Errors & Omissions and Employment Practices Liability.

       19.       Under the ICCRMC Policy, the Limit of Insurance for Educators’ Legal Liability

is $19.925 million each CLAIM and in the aggregate, subject to a MEMBER RETENTION in

the amount of $75,000.00.

       20.       Among other persons and organizations, MEMBER includes any past, present or

future members of boards or commissions, but only in respect to acts or operations by or on

behalf of the NAMED MEMBER (College of DuPage).


       1
           Terms in bold capitalized letters are defined in the ICCRMC Policy.


                                                 4
      Case: 1:22-cv-03765 Document #: 1 Filed: 07/20/22 Page 5 of 17 PageID #:5




       21.     Accordingly, Hamilton is not a MEMBER, and no insurance coverage is

available to her under the ICCRMC Policy, with respect to defamatory statements she allegedly

made to the general public through media outlets, which were made in her individual capacity

and not made on behalf of the College of DuPage.

       22.     On December 4, 2015, ICCRMC, through counsel, sent a coverage position letter

to the Board, copying the Individual Defendants, advising that ICCRMC would agree to provide

a defense to each of them in the Underlying Lawsuit pursuant to a reservation of rights.

       23.     In the December 4, 2015 letter—as well as in subsequent letters dated August 5,

2021 and May 6, 2022—ICCRMC specifically advised that there is no coverage for the

Individual Defendants for conduct committed outside of or unrelated to the fulfillment of their

duties as Board members, for which ICCRMC reserved the right to deny coverage.

       24.     Accordingly, the Individual Defendants were urged to tender the lawsuit to their

respective personal liability insurers whose policies may insure the claims for which there is no

coverage under the ICCRMC Policy.

       25.     ICCRMC has continued to provide a complete defense to the Board and the

Individual Defendants, including Hamilton, since the inception of the Underlying Lawsuit.

       26.     The total defense costs incurred by ICCRMC in the course of handling the

defense of the Board and the Individual Defendants in the Underlying Lawsuit exceeds

$9 million.

       27.     Of the more than $9 million incurred in defense costs to date, the costs related to

the handling of Hamilton’s defense, individually, exceed $3.7 million.




                                                5
      Case: 1:22-cv-03765 Document #: 1 Filed: 07/20/22 Page 6 of 17 PageID #:6




            THE STATE FARM POLICY AND RELATED CLAIMS HANDLING

       28.       State Farm issued a Personal Liability Umbrella Policy to Hamilton and her

spouse (policy number 13-WJ-5034-4) for the policy period September 10, 2015 to September

10, 2016. (A true and correct copy of the State Farm Policy is attached hereto as Exhibit 3.)

       29.       The State Farm Policy, under which Hamilton is a Named Insured, provides

personal liability umbrella insurance that applies, in certain contexts, excess of required

underlying insurance.

       30.       Pursuant to the State Farm Policy, Hamilton was only required to carry

underlying insurance with respect to certain risks, including Automobile Liability, Recreational

Motor Vehicle Liability, Personal Residential Liability, and Watercraft Liability, none of which

are implicated in the Underlying Lawsuit.

       31.       The applicable limit of insurance under the State Farm Policy for Personal

Liability is $5 million and is not subject to any self-insured retention or deductible.

       32.       Under the insuring agreement of COVERAGE L – PERSONAL LIABILITY,

the State Farm Policy provides, in relevant part, as follows:

                 COVERAGE L – PERSONAL LIABILITY

                 If a claim is made or suit is brought against an insured2 for
                 damages because of a loss for which the insured is legally liable
                 and to which this policy applies, we will pay on behalf of the
                 insured the damages that exceed the retained limit.

       33.       With respect to the defense of an insured, the State Farm Policy provides, in

relevant part, as follows:

                 Defense

                 If a suit is brought against any insured for damages because of a
                 loss to which this policy applies, we will provide a defense to the

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           Terms in bolded font are defined in the State Farm Policy.

                                                  6
       Case: 1:22-cv-03765 Document #: 1 Filed: 07/20/22 Page 7 of 17 PageID #:7




                    insured at our expense by counsel of our choice when the basis
                    for the suit is a loss that is not covered by any other insurance
                    policy but is covered by this policy.

        34.         Loss is defined in the State Farm Policy, in relevant part, as “the commission of

an offense which first results in personal injury during the policy period.”

        35.         The State Farm Policy defines Personal Injury, in relevant part, as “injury . . .

arising out of one or more of the following offenses: . . . c. libel, slander, [and] defamation of

character. . . .”

        36.         Retained limit, as applicable where an insured has no required underlying

insurance, means the amount shown in the declarations as the “Self-Insured Retention.” The

State Farm Policy declarations state “none” in the space next to Self-Insured Retention.

        37.         In the Underlying Lawsuit, Breuder alleges that the Individual Defendants,

including Hamilton, made defamatory and stigmatizing remarks about him to the general public

through media outlets.

        38.         Any injury arising from above-referenced conduct qualifies as personal injury

first sustained during the 2015–2016 policy period and, thus, is a loss to which the State Farm

Policy applies.

        39.         While the insurance under the State Farm Policy generally applies as excess over

certain requisite underlying insurance, the State Farm Policy also serves to protect Hamilton with

respect to liability for which she is not otherwise insured and, therefore, applies on a primary

basis in certain instances.

        40.         State Farm elected to carry the primary burden with respect to Hamilton’s

personal liability for defamatory statements made to the general public that were unrelated to the

fulfillment of her duties as a Board Member, for which there irrefutably is no coverage available

under the ICCRMC Policy or any other policy of insurance.

                                                     7
      Case: 1:22-cv-03765 Document #: 1 Filed: 07/20/22 Page 8 of 17 PageID #:8




        41.     In light of the possibility for indemnity coverage under both the ICCRMC Policy

and the State Farm Policy, ICCRMC and State Farm each have an independent, concurrent, and

ongoing duty to provide a complete defense to Hamilton in the Underlying Lawsuit.

        42.     On October 22, 2015, the day after Breuder filed the Underlying Lawsuit,

Hamilton emailed her State Farm agent, Doug Kramer (“Kramer”), regarding Breuder’s

Complaint.

        43.     In the October 22, 2015 email, Hamilton advised that the Board had voted to fire

Breuder and that he “filed a lawsuit against four members of the board in their official capacity

and individually.” (emphasis added).

        44.     Hamilton specifically advised in her October 22, 2015 email that she was one of

the Board members who had been sued and she requested that Kramer call her to “discuss how

our current coverage might be needed in this suit.”

        45.     Hamilton attached a copy of Breuder’s Complaint to her October 22, 2015 email.

        46.     Hamilton attests that it was her intention for State Farm to provide her with a

defense in the Underlying Lawsuit and that she “has always” maintained such intent. (A true and

correct copy of Hamilton’s June 29, 2022 Affidavit is attached hereto as Exhibit 4.)

        47.     Indeed, at no point in time did Hamilton knowingly forgo State Farm’s assistance

or instruct State Farm not to involve itself in the litigation.

        48.     To the contrary, Hamilton maintained ongoing communications with State Farm

regularly throughout the duration of the Underlying Lawsuit.

        49.     Despite State Farm’s actual knowledge of the Underlying Lawsuit on October 22,

2015 and of Hamilton’s potential liability for conduct committed in her individual capacity for

which there was no coverage under any other policy, State Farm did not acknowledge its defense

obligation or offer to participate in Hamilton’s defense upon receipt thereof.

                                                   8
         Case: 1:22-cv-03765 Document #: 1 Filed: 07/20/22 Page 9 of 17 PageID #:9




          50.   To the extent State Farm was unclear as to Hamilton’s intent when she tendered

her defense of the Underlying Lawsuit to Kramer, State Farm did not undertake measures to

obtain clarification and did not expressly ask if Hamilton desired its assistance.

          51.   Nor did State Farm timely reserve its rights under the State Farm Policy or

otherwise file a declaratory judgment action seeking an adjudication of the parties’ rights and

obligations under the State Farm Policy.

          52.   Rather, State Farm shirked its defense obligation (for almost seven years),

choosing to simply monitor the claim, while resting assured that Hamilton was being defended

by another insurer (ICCRMC) and seemingly content to let ICCRMC carry the defense burden

alone.

          53.   Under Illinois law, a liability policy becomes no less breached because of the

fortuitous existence of another insurer that is willing to meet its own obligations, like ICCRMC.

          54.   State Farm’s duty to defend was triggered upon its receipt of Hamilton’s direct

tender of the Underlying Lawsuit on October 22, 2015.

          55.   Nevertheless, State Farm has failed and refused to participate in Hamilton’s

defense at any point in time, through the filing of this declaratory judgment lawsuit.

          56.   In fact, it was not until May 4, 2022 that State Farm expressed a willingness to

even consider referring the matter to “[State Farm’s] Duty to Defend unit to review for coverage

determination.”

          57.   In light of State Farm’s breach of the duty to defend Hamilton, ICCRMC has been

forced to pay Hamilton’s defense fees and costs in the Underlying Lawsuit in their entirety.

                                  ASSIGNMENT OF RIGHTS

          58.   On or about June 23, 2022, ICCRMC and Great American entered into a written

agreement wherein ICCRMC assigned, conveyed, and transferred to Great American all of its

                                                 9
    Case: 1:22-cv-03765 Document #: 1 Filed: 07/20/22 Page 10 of 17 PageID #:10




rights, claims, and causes of action that ICCRMC has or may acquire against State Farm based

on, attributable to, arising out of, involving, resulting from, or in any way related to the claims at

issue in the Underlying Lawsuit, including, without limitation, all statutory rights, contractual

and extracontractual rights, subrogation rights, contribution rights, and rights arising in tort or

otherwise, regarding any obligations owed by State Farm to Hamilton under the State Farm

Policy under applicable law with respect to defense, indemnification, and good faith claims

handling.

          59.   An actual, present, and justiciable controversy has arisen and now exists between

Great American, as assignee of ICCRMC, and State Farm regarding their respective rights,

duties, and obligations under the ICCRMC and State Farm policies.

                            COUNT I – DECLARATORY RELIEF

          60.   Great American restates and incorporates by reference each and every allegation

set forth in the preceding paragraphs as though set forth in full herein.

          61.   There is a potentiality of coverage under the State Farm Policy for the claims

asserted against Hamilton in the Underlying Lawsuit concerning defamatory statements made to

the general public that were unrelated to the fulfillment of her duties as a Board member.

          62.   State Farm has a duty to defend Hamilton in the Underlying Lawsuit under the

State Farm Policy.

          63.   State Farm’s defense obligation is primary with respect to claims asserted against

Hamilton concerning defamatory statements made to the general public that were unrelated to

the fulfillment of her duties as a Board member, for which there is no coverage under any other

policy.

          64.   State Farm’s duty to defend Hamilton under the State Farm Policy is independent

of, and concurrent with, ICCRMC’s duty to defend Hamilton under the ICCRMC Policy.

                                                 10
    Case: 1:22-cv-03765 Document #: 1 Filed: 07/20/22 Page 11 of 17 PageID #:11




       65.     State Farm has an equitable duty and responsibility to pay a fair and proportionate

share of the costs of defense incurred in connection with Hamilton’s defense in the Underlying

Lawsuit.

       66.     ICCRMC has made multiple compulsory payments of more than its fair share of

the purported common obligation or burden of defending Hamilton in the Underlying Lawsuit.

       67.     ICCRMC first came into possession of information regarding the existence of a

potential claim against State Farm on September 20, 2021, when it received copies of State

Farm’s coverage communications with Hamilton from Hamilton’s defense counsel.

       68.     Great American, as assignee of ICCRMC, is entitled to recoup from State Farm a

proportionate share of defense costs and expenses that it has paid on behalf of Hamilton in the

Underlying Lawsuit.

       69.     Great American asserts and contends that declaratory judgment is both necessary

and proper at this time for the Court to determine the respective rights and liabilities of the

parties regarding their purported obligations to defend and indemnify Hamilton in the

Underlying Lawsuit.

                         COUNT II – EQUITABLE CONTRIBUTION

       70.     Great American restates and incorporates by reference each and every allegation

set forth in the preceding paragraphs as though set forth in full herein.

       71.     The ICCRMC Policy and the State Farm Policy both insure Hamilton on a

primary basis with respect to certain claims asserted against Hamilton in the Underlying Lawsuit.

       72.     There is an identity between the ICCRMC Policy and the State Farm Policy as to

the parties, insurable interests, and risks as both insurers provide coverage to Hamilton for injury

and claims arising out of defamation.




                                                 11
     Case: 1:22-cv-03765 Document #: 1 Filed: 07/20/22 Page 12 of 17 PageID #:12




          73.   ICCRMC agreed to participate in Hamilton’s defense with respect to all claims

asserted against her in the Underlying Lawsuit, subject to a full and complete reservation of

rights.

          74.   The allegations made, pleaded, or otherwise asserted against Hamilton in the

Underlying Lawsuit set forth claims for damages potentially covered under the State Farm

Policy.

          75.   Accordingly, State Farm is obligated to defend Hamilton in the Underlying

Lawsuit under the State Farm Policy, which policy reflects State Farm’s agreement to undertake

the duty to defend suits brought against any insured for damages because of a loss to which the

State Farm policy applies and for which the basis of the suit is a loss that is not covered by any

other insurance policy but is covered by the State Farm Policy.

          76.   To date, State Farm has failed and refused to defend Hamilton and/or has failed to

contribute a full and equitable share toward ICCRMC’s costs of defending Hamilton, which have

been incurred and are being incurred in connection with the Underlying Lawsuit.

          77.   By reason of State Farm’s failure to discharge its obligations and to equitably

participate in Hamilton’s defense, ICCRMC has incurred and/or paid, and will continue to incur

and/or pay, more costs than it would have, had State Farm agreed to defend and/or contribute a

full and equitable share of Hamilton’s defense in performance of its due and owing obligations

under the State Farm Policy.

          78.   State Farm’s failure to discharge its obligations under the State Farm Policy is

wrongful, and has caused an inequitable result, in that ICCRMC is paying and has paid more

than its fair share of the costs of the purported common obligation or burden of defending

Hamilton in the Underlying Lawsuit.




                                                12
    Case: 1:22-cv-03765 Document #: 1 Filed: 07/20/22 Page 13 of 17 PageID #:13




       79.     Because of State Farm’s wrongful failure to discharge its obligations under the

State Farm Policy, Great American (as assignee of ICCRMC) is entitled to equitable

contribution, to reimburse it for costs equivalent to State Farm’s fair and equitable proportionate

share of the total costs of defense incurred in connection with the claims against Hamilton in the

Underlying Lawsuit, with interest thereon at the prescribed legal rate.

                      COUNT III – CONTRACTUAL SUBROGATION
                                 (Pled in the Alternative)

       80.     Great American restates and incorporates by reference each and every allegation

set forth in the preceding paragraphs as though set forth in full herein.

       81.     Section 16 of the General Coverage Agreement Conditions in the ICCRMC

Policy provides, in relevant part, that ICCRMC is subrogated, at its sole discretion, to all rights

which any MEMBER may have against any person or other entity in respect to any claim or

payment made under the ICCRMC Policy including any person or organization hired to

investigate, handle, settle or defend any OCCURRENCE, CLAIM, proceeding or SUIT

resulting in the aforementioned payment.

       82.     Accordingly, Great American, as assignee of ICCRMC, is contractually

subrogated to Hamilton’s rights as against State Farm to recover the sums that State Farm should

have paid.

       83.     By reason of State Farm’s failure to discharge its obligations, and to equitably

participate in Hamilton’s defense, ICCRMC has incurred and/or paid, and will continue to incur

and/or pay, more costs than it would have, had State Farm agreed to defend and/or contribute a

full and equitable share of Hamilton’s defense in performance of its due and owing obligations

under the State Farm Policy.




                                                 13
    Case: 1:22-cv-03765 Document #: 1 Filed: 07/20/22 Page 14 of 17 PageID #:14




        84.     State Farm’s failure to discharge its obligations under the State Farm Policy is

wrongful, and has caused an inequitable result, in that ICCRMC is paying and has paid more

than its fair share of the costs of the purported common obligation or burden of defending

Hamilton in the Underlying Lawsuit.

        85.     Because of State Farm’s wrongful failure to discharge its obligations under the

State Farm Policy, Great American (as assignee of ICCRMC) is entitled to reimbursement for

costs equivalent to State Farm’s fair and equitable proportionate share of the total costs of

defense incurred in connection with the claims against Hamilton in the Underlying Lawsuit, with

interest thereon at the prescribed legal rate.

                          COUNT IV– EQUITABLE SUBROGATION
                                 (Pled in the Alternative)

        86.     Great American restates and incorporates by reference each and every allegation

set forth in the preceding paragraphs as though set forth in full herein.

        87.     ICCRMC and State Farm each have an independent, concurrent, and ongoing

duty to provide a complete defense to Hamilton in the Underlying Lawsuit under their respective

policies.

        88.     ICCRMC discharged its liability to Hamilton and at the same time extinguished

the liability of State Farm.

        89.     State Farm’s failure to discharge its obligations under the State Farm Policy is

wrongful.

        90.     Because of State Farm’s wrongful failure to discharge its obligations under the

State Farm Policy, Great American (as assignee of ICCRMC) is entitled to reimbursement for

costs equivalent to State Farm’s fair and equitable proportionate share of the total costs of




                                                 14
    Case: 1:22-cv-03765 Document #: 1 Filed: 07/20/22 Page 15 of 17 PageID #:15




defense incurred in connection with the claims against Hamilton in the Underlying Lawsuit, with

interest thereon at the prescribed legal rate.

                                     COUNT V – ESTOPPEL

        91.     Great American restates and incorporates by reference each and every allegation

set forth in the preceding paragraphs as though set forth in full herein.

        92.     To prevent the application of estoppel when a complaint potentially falls within

coverage, an insurer must either: (1) defend the underlying suit under a reservation of rights; or

(2) seek a declaratory judgment that no coverage exists.

        93.     An insurer that fails to take either of these steps and is subsequently found to have

wrongfully denied coverage will be estopped from raising defenses to coverage.

        94.     Despite there being a potentiality of coverage under the State Farm Policy for the

claims asserted against Hamilton in the Underlying Lawsuit, State Farm elected not to defend

Hamilton under a reservation of rights and also failed to seek a declaratory judgment that no

coverage exists.

        95.     Given State Farm’s wrongful failure and refusal to acknowledge its duty to defend

Hamilton or to otherwise comply with Illinois law, State Farm is estopped from raising defenses

to coverage under the State Farm Policy.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff Great American Insurance Company, as assignee of ICCRMC,

respectfully requests that this Court enter judgment in its favor, and against all defendants, as

follows:

        1.      Declaring that the allegations of the Complaint filed in the Underlying Lawsuit
                create the potential that Hamilton will be liable for damages covered under the
                State Farm Policy;

        2.      Declaring that State Farm has a duty to defend Hamilton against all claims,

                                                 15
    Case: 1:22-cv-03765 Document #: 1 Filed: 07/20/22 Page 16 of 17 PageID #:16




               demands, actions, and causes of action asserted against her in the Underlying
               Lawsuit;

       3.      Declaring that State Farm’s defense and indemnity obligations under the State
               Farm Policy are co-primary with ICCRMC’s obligations under the ICCRMC
               Policy;

       4.      Declaring that State Farm has an equitable duty and responsibility to pay a fair
               and proportionate share of the costs of defense incurred in connection with
               Hamilton’s defense in the Underlying Lawsuit;

       5.      Declaring that ICCRMC has made compulsory payments exceeding its fair share
               of the purported common obligation or burden of defending Hamilton in the
               Underlying Lawsuit;

       6.      Declaring that ICCRMC is entitled to recoup from State Farm a fair and
               proportionate share of all defense costs and expenses that it has paid on behalf of
               Hamilton in the Underlying Lawsuit;

       7.      Declaring that State Farm is estopped from asserting any defenses to coverage
               under the State Farm Policy;

       8.      For general damages in an amount to be proven at trial;

       9.      For prejudgment interest;

       10.     For costs of suit herein; and

       11.     For such other and further relief as this Court deems just and appropriate.

                                        JURY DEMAND

       Plaintiff Great American Insurance Company hereby demands a trial by jury pursuant to

Fed. R. Civ. P. 38(b).




                                                16
     Case: 1:22-cv-03765 Document #: 1 Filed: 07/20/22 Page 17 of 17 PageID #:17




Dated: July 20, 2022                          Respectfully submitted,


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